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Richard E. Weltman (rew@weltmosk.com)
Michael L. Moskowitz (mlm@weltmosk.com)
Michele K. Jaspan (mkj@weltmosk.com)
Adrienne Woods (aw@weltmosk.com)
WELTMAN & MOSKOWITZ, LLP
Attorneys for Debtor/Debtor-in-Possession
270 Madison Avenue, Suite 1400
New York, New York 10016-0601
(212) 684-7800
                                                UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF NEW YORK
                                                                                )
In re:                                                                          )
                                                                                )
   NUTMEG MUSIC INCORPORATED, d/b/a/
                                 )                                              )
   NUTMEG CREATIVE d/b/a/        )                                              )
   NUTMEG AUDIO POST d/b/a/      )                                              )
   NUTMEG POST d/b/a/                                                           )      Case No. 18-12056 (SHL)
   NUTMEG RECORDING,             )                                              )
                                                                                )
                                                               Debtor.   )      )
                FIRST MONTHLY FEE STATEMENT OF WELTMAN & MOSKOWITZ,
                   LLP FOR COMPENSATION FOR SERVICES RENDERED AND
                REIMBURSEMENT OF EXPENSES INCURRED AS ATTORNEYS FOR
                 DEBTOR FOR THE PERIOD JULY 2, 2018 THROUGH JULY 31, 2018
Name of Applicant:                                                              Weltman & Moskowitz, LLP
                                                                                Attorneys for Debtor/Debtor-in-Possession

Date of Retention:                                                                     Nunc pro tunc to July 3, 2018
Period for Which Fees and Expenses are Incurred:                                       July 3, 2018 – July 31, 2018
                                                                                       1
Monthly Fees Incurred:                                                                   $68,620.50
Less 20% Holdback:                                                                     $54,896.40
Monthly Expenses Incurred:                                                             $2,273.81
                                                                                       2
Total Fees and Expenses Due:                                                             $57,170.21

Dated: New York, New York
       August 10 ,2018
                                                                         WELTMAN & MOSKOWITZ, LLP
                                                                         Attorneys for Debtor/Debtor-in-Possession
                                                                         By: /s/ Richard E. Weltman
                                                                            RICHARD E. WELTMAN
                                                                         270 Madison Avenue, Suite 1400
                                                                         New York, New York 10016-0601
                                                                         (212) 684-7800
                                                            
1
  In accordance with the Order Pursuant to 11 U.S.C. §§ 331 and 105(a) Establishing Procedures for Interim
Compensation and Reimbursement of Expenses of Professionals, dated August 3, 2018 (ECF doc. no. 29), if no
objection to the fees or expenses sought in the Monthly Statement is received by the fifteenth (15th) day following
receipt of the Monthly Statement, the Debtors are authorized to pay 80% of the monthly fees incurred and 100% of
the monthly expenses identified in the Monthly Statement.
2
  Weltman & Moskowitz, LLP received a pre-petition retainer of $51,717 from Debtor.
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  SUMMARY OF MONTHLY FEE STATEMENT OF WELTMAN & MOSKOWITZ, LLP
   FOR SERVICES RENDERED FOR THE PERIOD JULY 2, 2018 THROUGH JULY 31,
                                2018

NAME OF ATTORNEY           TITLE        YEAR            HOURLY      TOTAL          TOTAL
                                      ADMITTED           RATE       HOURS       COMPENSATION
                                                                    BILLED
Richard E. Weltman      Partner      1979              $625       71.30         $44,562.50
Michael L. Moskowitz    Partner      1982              $625       0.00          $0.00
Michele K. Jaspan       Associate    1986              $485       4.30          $2,085.50
Melissa A. Guseynov     Associate    2008              $395       0.00          $0.00
Adrienne Woods          Of Counsel   2005              $425       51.70         $21,972.50
Total Fees Incurred                                               127.30        $68,620.50

      PROFESSIONALS        BLENDED RATE          TOTAL HOURS         TOTAL COMPENSATION
                                                   BILLED
Richard E. Weltman      $625                  71.30               $44,562.50
Michael L. Moskowitz    $625                  0.00                $0.00
Michele K. Jaspan       $485                  4.30                $2,085.50
Melissa A. Guseynov     $395                  0.00                $0.00
Adrienne Woods          $425                  51.70               $21,972.50
Blended Attorney Rate   $539.05               127.30              $68,620.50




                                                2 
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      COMPENSATION BY WORK TASK CODE FOR SERVICES RENDERED BY
     WELTMAN & MOSKOWITZ, LLP FOR THE PERIOD JULY 2, 2018 THROUGH
                            JULY 31, 2018

       TASK             DESCRIPTION                   HOURS                AMOUNT
       CODE
    001        Chapter 11 General                      23.40               $12,623.00
    002        Lease Matters                            26.70              $15,047.50
    003        Retentions                                4.20               $2,173.00
    004        Fee Applications                          0.20                 $97.00
    005        Claims Administration                     0.70                $437.50
    006        Cash Collateral/DIP Financing            24.90              $14,002.50
    010        First Day Motions                        38.00              $18,570.00
    011        United States Trustee                    3.30               $2,062.50
    012        GW Hoffman Litigation                     5.00               $3,045.00
    014        Monthly Operating Reports                 0.00                 $0.00
    015        Marketing and Sale of Business           0.90                 $562.50
    Total                                              127.30              $68,620.50




                                            3 
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       EXPENSE SUMMARY BY WELTMAN & MOSKOWITZ, LLP FOR THE PERIOD OF
                      JULY 2, 2018 THROUGH JULY 31, 2018

                            EXPENSES                                       AMOUNTS
Document Reproduction                                                        $372.25
Court Filing Fees                                                           $1,717.00
Postage/Federal Express                                                      $184.56
Total                                                                       $2,273.81




                                                 4 
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Date: 08/09/2018                                    Summary Fee Transaction File List                                  Page: 1
                                                       Weltman & Moskowitz, LLP

                                         Hours
                                         to Bill     Amount
Total for Timekeeper 1       Billable    71.30     44,562.50 Richard E. Weltman
                         Non-billable     0.60        375.00
                               Total     71.90     44,937.50


Total for Timekeeper 2       Billable     0.00         0.00 Michael L. Moskowitz
                         Non-billable     0.90       562.50
                               Total      0.90       562.50


Total for Timekeeper 3       Billable     4.30      2,085.50 Michele K. Jaspan


Total for Timekeeper 6       Billable    51.70     21,972.50 Adrienne Woods
                         Non-billable     0.10         42.50
                               Total     51.80     22,015.00

                                                               GRAND TOTALS

                             Billable   127.30     68,620.50
                         Non-billable     1.60        980.00
                               Total    128.90     69,600.50




                                                                                                    Thursday 08/09/2018 12:53 pm
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                                                                                                                                          Page: 1
        Nutmeg Music Inc.                                                                                                              08/09/2018
        Nutmeg Creative                                                                                           ACCOUNT NO:         11900-001H
        45 West 45th Street                                                                                        Statement No:            46372
        Sixth Floor
        New York NY 10036



        Re: Chapter 11 General
                                                                                                                              INTERIM STATEMENT



07/02/2018         REW        Revise retention motion, Rule 1007 certification; forward to client for
                              comments                                                                                       0.20
                   REW        Manage claims schedule including tax claims                                                    0.20
                   REW        Revise debtor's schedules and forward to Kelly Ng and R. Iommazzo for
                              comment update and final approval                                                              0.30
                   AW         Conference with REW regarding cash collateral carve out                                        0.20
                   AW         Conferences with REW regarding filing matters                                                  0.30
                   AW         Conference with R. Iommazzo regarding filing, petition information and
                              Spaneo Guaranty                                                                                0.20
                   AW         Review consent of guarantor and Hoffman and Spaneo Guarantees from Citi
                              and forward with comments to REW and R. Iommazzo                                               0.80
                   AW         Calls to Court and UST regarding filing of case                                                0.30
                   AW         Assist in preparing petition, including review to determine additional
                              necessary information                                                                          1.70

07/03/2018         MLM        Supervise preparation of skeletal petition                                                     0.20             n/c
                   REW        Confer with S. Landy re: lease status and issues going forward                                 0.20             n/c
                   REW        Receipt, review and file correspondence from A. Spaneo and R. Iommazzo
                              instructing counsel to proceed with chapter 11                                                 0.10
                   REW        Confirm client response in light of landlord's refusal to negotiate in good faith              0.20
                   REW        Manage signatures on documents, Rule 1007 affidavits, matrix and exhibits
                              to be filed                                                                                    0.60
                   REW        Coordinate inclusion of revised top 20 creditors into filing, Rule 1007 affidavit
                              and exhibit, matrix                                                                            0.30
                   REW        Telephone conference with client re: confirming he signed and certified Rule
                              1007 affidavit and certifications for filing today                                             0.30
                   REW        Confer with client and confirm signature to an affidavit and swearing
                              truthfulness of contents of affidavit and matrix and schedules; discuss and
                              confirm approval of Citibank                                                                   0.30
                   REW        Prepare, review and revise letter to client enclosing and confirm filing and
                              assignment to Judge Sean Lane                                                                  0.10
                   AW         Conference with G. Hirsch regarding cash collateral stipulation and budget                     0.40
                   AW         Assist in petition preparation, including conferences with R. Iommazzo, A.
                              Spaneo, REW and JG                                                                             2.40
                   AW         Review final change to cash collateral stipulation and order, confer with REW,
                              direct filing of petition                                                                      0.50
                   REW        Review client information/documents- updated A/R and A/P schedules, cash
                              flow; update chapter 11 schedules                                                              0.20
                   REW        Update undisputed, unliquidated tax liabilities on schedule E                                  0.20

07/05/2018         REW        Confer with S. Landy re: Citibank and landlord claims                                          0.10
                   AW         Conference with R. Iommazzo regarding information necessary for first-day
                              motions                                                                                        0.40

07/06/2018         REW        Receipt, review and file correspondence from AW, R. Iommazzo re: updated
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                                                                                                                                Page: 2
        Nutmeg Music Inc.                                                                                                    08/09/2018
                                                                                                          ACCOUNT NO:       11900-001H
                                                                                                           Statement No:          46372
        Re: Chapter 11 General



                            20 largest contact information                                                           0.10
                   REW      Revise debtor's schedules; circulate to Traxi and client                                 0.50
                   REW      Follow up calls to court and UST                                                         0.20
                   REW      Prepare client instructions re: PR and messaging                                         0.40

07/09/2018         REW      Review response from R. Morrissey; consider and respond                                  0.20

07/10/2018         REW      Review and file NOAs filed by G. Hirsch and B. Theis                                     0.10
                   REW      Review papers received from court- reservation of rights from Hoffman's
                            attorneys re: co-debtor and first-day motions                                            0.30
                   REW      Multiple emails with L. Peikes at Wiggin and Dana re: outstanding discovery
                            and pre-petition services                                                                0.20
                   REW      Remove Traxi as CRO from debtor's unanimous written consent                              0.10
                   REW      Finalize notice to debtor, professionals re: section 341 meeting, protocols              0.20

07/11/2018         REW      Further exchanges by email re: cash flow actual vs. projected                            0.20

07/12/2018         REW      Receipt, review and file correspondence from R. Iommazzo re: Citibank's
                            policy against establishing new DIP accounts                                             0.20
                   REW      Call G. Hirsch re: DIP accounts at Citibank or elsewhere                                 0.10

07/16/2018         REW      Finalize transmittal request to R. Iommazzo, Kelly Ng and A. Spaneo with
                            draft schedules and SOFA for approval                                                    0.20
                   REW      Finalize letter to client re: section 341 meeting and issues of importance               0.20
                   REW      Telephone conference with Mary Ellen Bianco at Flushing Bank; client is
                            considering Wells Fargo and Flushing Bank for DIP accounts                               0.20
                   REW      Receipt, review and file correspondence from R. Iommazzo re: DIP accounts                0.10
                   REW      Telephone conference with R. Iommazzo re: Wells Fargo application for DIP
                            account pending                                                                          0.10
                   REW      Telephone conference with R. Iommazzo re: debtor's schedules                             0.10

07/17/2018         MKJ      Conference with REW re: demand for turnover of escrow deposit                            0.10
                   MKJ      Conference with REW re: informal discovery demand by counsel for Karen
                            Goyette Hoffman and consider reponses                                                    0.20
                   MKJ      Analyze escrow agreement and draft turnover demand                                       0.70
                   MKJ      Analyze pre-petition KGH litigation and bankruptcy counsel's demand for
                            documents determine procedural appropriateness or whether informal
                            discovery in litigation which is stayed                                                  0.80
                   MKJ      Draft letter to bankruptcy counsel for K.G. Hoffman; review, revise and
                            finalize letter to Ryan O'Neil                                                           0.20
                   MKJ      Review, revise and finalize letters to Fleischer and O'Neil re: discovery
                            demand and escrow turnover                                                               0.30
                   REW      Telephone conference with R. Iommazzo re: establishing DIP accounts at
                            Wells Fargo (pending)                                                                    0.10
                   REW      Revise cash management order                                                             0.20
                   REW      Follow up with R. Iommazzo re: establishing DIP account and update chapter
                            11 schedules                                                                             0.10

07/18/2018         REW      Email L. Pacchia and R. Iommazzo re: executory contracts, insurance
                            policies and debtor's schedules                                                          0.20
                   REW      Review and revise schedules revisions from R. Iommazzo with legal
                            assistant; review and consider 90-day payment schedule                                   0.90
                   REW      Revise debtor's schedules, as revised by Traxi (and marked exhibits);
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        Nutmeg Music Inc.                                                                                                      08/09/2018
                                                                                                            ACCOUNT NO:       11900-001H
                                                                                                             Statement No:          46372
        Re: Chapter 11 General



                            discuss 90-day schedule with AW (partial)                                                  0.60
                   REW      Telephone conference with accountant re: R. Iommazzo and legal assistant
                            re: edits to debtor's schedules of assets and liabilities                                  0.50
                   REW      Revise Schedules F and G                                                                   0.20
                   REW      Revise Schedules D and SOFA                                                                0.20
                   AW       Review petition and schedules, discuss same with REW                                       0.50
                   REW      Calls to R. Iommazzo re: establishing DIP accounts                                         0.10
                   REW      Telephone conference with client re: DIP accounts at Wells Fargo for cash
                            management order                                                                           0.10
                   REW      Telephone conference with accountant re: R. Iommazzo re: DIP account
                            progress                                                                                   0.10
                   REW      Telephone conference with R. Iommazzo re: Debtor's preliminary 90-day
                            payment schedule for review                                                                0.10
                   REW      Telephone conference with accountant re: R. Iommazzo and AW (partial) re:
                            asset values and marketing efforts with Kelly Ng                                           0.20

07/19/2018         AW       Update call with REW regarding case status                                                 0.10           n/c
                   REW      Receipt, review and file correspondence from Kelly Ng re: DIP accounts;
                            obtain particulars (account and routing numbers, titles, DIP checks. etc.)                 0.20
                   REW      Multiple emails from R. Iommazzo re: Paychex transition to DIP payroll
                            account at Wells Fargo; call him                                                           0.20
                   REW      Follow up with client on Wells Fargo DIP requirements; update interim cash
                            management order                                                                           0.20

07/23/2018         MKJ      Review letter from R. O'Neill responding to turnover request of escrow funds               0.10
                   MKJ      Telephone conference with REW and R. Iommazzo re: strategy regarding CT
                            litigation, agreement with Soundtrack, etc.                                                0.20

07/25/2018         REW      Telephone conference with R. Iommazzo re: Steven Newman referral for
                            possible A. Spaneo representation                                                          0.10
                   REW      Telephone conference with S. Newman for A. Spaneo                                          0.10
                   REW      Follow up on Wells Fargo DIP accounts and update cash management order
                            for approval by UST and submission to court                                                0.30
                   REW      Follow up with client, Traxi re: creditor meeting and DIP accounts and checks              0.20

07/26/2018         MKJ      Conference with REW re: strategy concerning turnover request and next
                            steps                                                                                      0.20
                   MKJ      Detailed conference with L. Peikes and REW to address refusal by KGH
                            counsel to turnover escrow and litigation strategy concerning pending motion
                            to dismiss                                                                                 0.50
                   REW      Receipt, review and file correspondence- email exchange with B. Theis and
                            comment                                                                                    0.10

07/30/2018         REW      Consider motion to reject Greaney contract                                                 0.10
                   REW      Consider other executory contracts and possible motions re: same                           0.20

07/31/2018         REW      Exchanges with S. Newman re: co-debtor stay; conflict check for Anthony
                            Spaneo representation; call him                                                            0.30
                            FOR PROFESSIONAL SERVICES RENDERED                                                        23.40     12,623.00
                            TOTAL NON-BILLABLE HOURS                                                                   0.50
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 Nutmeg Music Inc.                                                                                                               08/09/2018
                                                                                                         ACCOUNT NO:            11900-001H
                                                                                                          Statement No:               46372
 Re: Chapter 11 General


                                                        RECAPITULATION
TIMEKEEPER                                                            HOURS                            RATE                 TOTAL
Richard E. Weltman                                                      12.40                        $625.00              $7,750.00
Michele K. Jaspan                                                        3.30                         485.00               1,600.50
Adrienne Woods                                                           7.70                         425.00               3,272.50


                     TOTAL CURRENT SERVICES                                                                                       12,623.00


                     BALANCE DUE                                                                                                 $12,623.00




                     Terms: Payable upon receipt.
                     Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                     Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                             08/09/2018
        Nutmeg Creative                                                                                          ACCOUNT NO:         11900-002H
        45 West 45th Street                                                                                       Statement No:            46373
        Sixth Floor
        New York NY 10036



        Re: Lease Matters
                                                                                                                             INTERIM STATEMENT



07/03/2018         REW        Review papers received from opposing counsel- landlord 10-day notice for
                              schedules                                                                                     0.20
                   REW        Exchanges with client, R. Iommazzo and AW re: lease issues                                    0.10
                   REW        Telephone conference with opposing counsel Michael Carr at R&E (attorneys
                              for Vanbarton)                                                                                0.30
                   REW        Telephone conference with opposing counsel Michael Carr (again) re:
                              settlement proposal in lieu of lease termination; discuss with S. Landy                       0.30
                   REW        Finalize lease discussion recap to S. Landy, client, R. Iommazzo                              0.30

07/09/2018         REW        Confer with S. Landy re: landlord notice and motion                                           0.20
                   REW        Finalize and manage filing of lease rejection motion and order                                0.20
                   REW        Consider UST response to First Day lease rejection motion and proposed
                              order                                                                                         0.10

07/10/2018         REW        Consider landlords opposition and revised consent order rejecting lease                       0.50
                   REW        Confer with S. Landy re: lease rejection                                                      0.20
                   REW        Review papers received from opposing counsel- consent order terms and
                              consider push back with R. Iommazzo and A. Spaneo                                             0.40
                   REW        Telephone conference with M. Carr re: landlord's conditional opposition                       0.20
                   REW        Confer with AW re: co-debtor stay limited opposition by Hoffman, Landlord                     0.20

07/12/2018         REW        Receipt, review and file correspondence from M. Carr at Rosenberg Estis re:
                              proposed lease termination order                                                              0.20

07/13/2018         REW        Receipt, review and file correspondence from M. Carr re: proposed modified
                              order                                                                                         0.20
                   REW        Confer with S. Landy re: lease termination order                                              0.20
                   REW        Email S. Landy Landlord's Reservation of Rights and Limited Objection to
                              Debtor's proposed rejection                                                                   0.20
                   REW        Consider implications of landlord's request for pre-petition "termination" of
                              lease with S. Landy; research                                                                 0.60
                   REW        Edit Interim Lease Termination/Rejection order and reconsider landlord's
                              request for termination pre-petition; forward to R. Iommazzo and S. Landy                     0.40
                   REW        Request to debtor re: taking of letter of credit by landlord as default trigger;
                              also request U&O payment amount and July invoice                                              0.20
                   AW         Review and provide comments on landlord's proposed consent order to
                              regain possession of premises, discuss with REW and SL                                        0.60
                   AW         Conference with REW regarding additional changes to landlord consent order                    0.30
                   AW         Revise landlord consent order and circulate with comments to S. Landy,
                              REW and R. Iommazzo                                                                           0.30

07/16/2018         REW        Addressing landlord requested changes                                                         0.10
                   REW        Confer with D. Wolf and S. Landy re: Landlord's proposed order                                0.10
                   REW        Receipt, review and file correspondence from B. Theis and M. Carr re: interim
                              order comments re: landlord cooperation                                                       0.10
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        Nutmeg Music Inc.                                                                                                        08/09/2018
                                                                                                              ACCOUNT NO:       11900-002H
                                                                                                               Statement No:          46373
        Re: Lease Matters



                   REW      Review papers received from court- filed proposed order from landlord's
                            counsel; circulate to S. Landy                                                               0.20
                   REW      Solicit and incorporate S. Landy comments; circulate to Citibank attorney on
                            lease; confer with AW, G. Hirsch (and protecting Citibank's right to payment);
                            ask Traxi to calculate U&O amount for order                                                  0.40
                   REW      Confer with S. Landy re: Landlord's position on pre-petition lease termination               0.10
                   AW       Review SL comments on landlord stipulation                                                   0.10
                   AW       Conference with REW regarding termination versus rejection of lease                          0.30
                   AW       Conference with G. Hirsch regarding changes to landlord consent order                        0.20
                   AW       Revise landlord consent order and circulate with all comments                                0.20
                   AW       Conference with R. Iommazzo regarding use and occupancy amount                               0.10

07/17/2018         REW      Telephone conference with M. Carr re: interim order                                          0.10
                   REW      Telephone conference with R. Iommazzo re: July rent                                          0.10
                   REW      Follow up with S. Landy and R. Iommazzo re: possession order                                 0.10

07/18/2018         REW      Follow up with Debtor, L. Pacchia and R. Iommazzo re: landlord invoice and
                            move-out cooperation                                                                         0.10
                   REW      Telephone conference with R. Iommazzo re: moving this weekend, waiting for
                            certificate of insurance; rent space at Regus (385 Madison); no deal yet for
                            audio-video; July invoice                                                                    0.20
                   REW      Telephone conference with M. Carr re: July invoice, Interim Order, move-out
                            arrangements                                                                                 0.20
                   REW      Multiple email exchanges with landlord's attorney on order                                   0.20
                   REW      Arrange elevator access for Debtor move-out over next two weekends; calls
                            to M. Carr                                                                                   0.20
                   AW       Follow up with M. Carr regarding comments on landlord consent order                          0.30
                   AW       Confer with REW regarding landlord consent order                                             0.10

07/19/2018         REW      Review and analyze comments from landlord's attorney re: insurance
                            requirements; send to client                                                                 0.20
                   REW      Exchanges with B. Theis re: addition possession comments and July invoice
                            from landlord; circulate to Traxi, client                                                    0.30
                   REW      Obtain S. Landy comments to landlord's most recent reservation of rights
                            language on return of possession                                                             0.20
                   REW      Receipt, review and file correspondence- revised landlord proposal from B.
                            Theis; confer with R. Iommazzo                                                               0.30
                   REW      Receipt, review and file correspondence Kelly Ng re: July rent invoice,
                            charges                                                                                      0.10
                   REW      Prepare, review and revise letter to client enclosing proposed response to
                            landlord's attorney on amount and timing of July use and occupation payment
                            to landlord                                                                                  0.20
                   REW      Negotiations with landlord's counsel on weekend elevator access and further
                            cooperation                                                                                  0.20
                   REW      Multiple emails with B. Theis, R. Iommazzo re: insurance certificates, elevator
                            access, notice charges, coordination between Debtor's team and landlord's
                            representatives, etc.                                                                        0.20
                   REW      Receipt, review and file correspondence from R. Iommazzo re: Sunday
                            elevator for tenant move-out                                                                 0.10
                   REW      Follow up on moving flexibility and Sunday access requested by Debtor's
                            moving company                                                                               0.10
                   AW       Review consent order with Landlord, conference with B. Theis and M. Carr
                            regarding same, forward to R. Iammazzo and L. Pacchia for comment                            0.80
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        Nutmeg Music Inc.                                                                                                        08/09/2018
                                                                                                              ACCOUNT NO:       11900-002H
                                                                                                               Statement No:          46373
        Re: Lease Matters




07/20/2018         AW       Conference with R. Iommazzo regarding proposed language for landlord
                            consent order                                                                                0.10
                   AW       Conference with R. Iommazzo and M. Carr regarding consent order entered
                            by court and necessary revisions as well as terms of move out                                0.20
                   AW       Email confirming terms of moveout to M. Carr, copy R. Iommazzo and REW                       0.20

07/23/2018         REW      Telephone conference with R. Iommazzo re: soundtrack deal points                             0.20
                   REW      Receipt, review and file correspondence update from R. Iommazzo re:
                            Soundtrack talking points and consider Citibank's position                                   0.20
                   REW      Review papers received from court- opposition to lease rejection order filed
                            by landlord                                                                                  0.40
                   REW      Prepare, review and revise letter to client enclosing landlord's opposition for
                            comment                                                                                      0.10
                   REW      Consider landlord's position on pre-filing termination and move-out access
                            over two-weekends prior to 7/31/18                                                           0.30
                   REW      Further consider landlord's opposition to rejection motion                                   0.30
                   REW      Confer with S. Landy re: lease damages, termination preservation                             0.20
                   AW       Review landlord objection to debtor motion to reject lease, conference with
                            MLM and emails with S. Landy                                                                 0.70
                   MLM      Conference with AW re: difference between lease termination and rejection
                            damages in connection with negotiations with landlord's consent order                        0.30           n/c

07/24/2018         REW      Call with landlord's attorney B. Theis re: move-out issues                                   0.20
                   REW      Confer with landlord's attorney and postpone/adjourn debtor's motion to reject
                            for 30 days                                                                                  0.20

07/25/2018         REW      Address revisions to U&O payment to landlord in revised possession order                     0.20
                   REW      Consider renewal of co-debtor stay motion and reach out to Stuart Newman                     0.30
                   REW      Telephone conference with R. Iommazzo re:                                                    0.30
                   REW      Consider latest draft of landlord possession order                                           0.20
                   REW      Prepare, review and revise letter to client enclosing landlord stipulation with
                            questions                                                                                    0.20
                   AW       Confer with M. Carr, REW and revise stipulation to return leased premises to
                            landlord and circulate                                                                       0.70

07/26/2018         REW      Receipt, review and file correspondence from R. Iommazzo re:
                            "lease" arrangement/terms; reply                                                             0.30
                   REW      Telephone conference with                                                                    0.30
                   REW      Consider landlord's latest mark-up to consent order and discuss
                            termsheet                                                                                    0.20
                   REW      Telephone conference with R. Iommazzo re: creditor meeting                                   0.10
                   REW      Consider revised redline and emails exchanged with B. Theis; confer with R.
                            Iommazzo (partial) and S. Landy (partial)                                                    0.30
                   REW      Finalize follow up email to             re:            terms                                 0.10
                   REW      Multiple emails exchanged with landlord attorney on final consent order;
                            review and update; confer with S. Landy                                                      0.40
                   REW      Incorporate further S. Landy comments, update/revise possession consent
                            order                                                                                        0.20
                   AW       Review landlord consent order, revise and circulate, calls with REW and R.
                            Iommazzo regarding same                                                                      1.40

07/27/2018         REW      Confer with S. Landy re: lease exit provisions                                               0.20
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        Nutmeg Music Inc.                                                                                                          08/09/2018
                                                                                                                ACCOUNT NO:       11900-002H
                                                                                                                 Statement No:          46373
        Re: Lease Matters



                   REW      Consider "final" version of consent order releasing possession of reserving
                            tenant's (Debtor's) rights                                                                     0.30
                   REW      Receipt, review and file correspondence from M. Carr and R. Iommazzo re:
                            timing on Debtor's U&O payment and confirm available funds                                     0.10
                   REW      Telephone conference with R. Iommazzo re:                deal dead; going
                            back to Soundtrack and concerns about Monday walk through with Malek
                            from 45 West 45 Street Ventures                                                                0.20
                   REW      Confer with S. Landy re: renewal of tenancy discussions with
                                                                                                                           0.10
                   REW      Telephone conference with R. Iommazzo re:
                                   and $65,000 in clear funds                                                              0.20
                   REW      Telephone conference with R. Iommazzo re: "move out" issues                                    0.10
                   AW       Further revisions to landlord consent order and circulate                                      0.40
                   AW       Discussion with REW regarding               agreement, potential
                            representation by S. Newman of A. Spaneo as personal counsel, and
                            conference with REW regarding collapse of                deal and movement in
                            other direction                                                                                0.70

07/30/2018         REW      Telephone conference with R. Iommazzo re: August payroll advance from
                            Hoffman and money payable; walk through and landlord's anticipated $1,000
                            cleanup charges                                                                                0.20
                   REW      Finalize email to M. Carr, T. Spaneo, S. Landy and R. Iommazzo re: July
                            U&O clear tomorrow                                                                             0.20
                   REW      Finalize request to bring movers back to finish removal on 7/31/18                             0.20
                   REW      Multiple emails re: landlord's holdover threat due to furniture and property left
                            behind; confer with S. Landy re: urgent removal plan                                           0.20
                   REW      Confer with AW re: resolving landlord's holdover threar by suggesting call to
                            800-GOT-JUNK                                                                                   0.10
                   AW       Conference with REW regarding move-out and payment of use and
                            occupancy                                                                                      0.10
                   AW       Conference with REW regarding moveout issues, follow up with R. Iommazzo
                            regarding same                                                                                 0.20
                   AW       Conference with R. Iommazzo regarding move-out issues                                          0.20
                   REW      Investigate U&O payment to landlord and call from                                              0.20
                   REW      Additional exchanges with M. Carr re: July payment- clearance funds and
                            confer with him re: cleanup and overtime charges                                               0.20
                   REW      Consider M. Carr email; respond                                                                0.10
                   REW      Telephone conference with B. Theis re: OT and cleanup charges plus return
                            of possession                                                                                  0.20

07/31/2018         REW      Multiple exchanges with M. Carr and B. Theis re: tenant's removal dispute                      0.30
                   REW      Receipt, review and file correspondence from M. Carr re: landlord's refusal to
                            extend possession deadline for 24 hours                                                        0.20
                   REW      Multiple exchanges with Traxi, S. Landy, client re: movers returning 8/1                       0.50
                   REW      Receipt, review and file correspondence from Kelly Ng re: wire confirmation
                            for July U&O; circulate to B. Theis                                                            0.10
                   REW      Telephone conference with S. Newman re: conflict inquiry for A. Spaneo                         0.10
                            FOR PROFESSIONAL SERVICES RENDERED                                                            26.70     15,047.50
                            TOTAL NON-BILLABLE HOURS                                                                       0.30
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 Nutmeg Music Inc.                                                                                                                08/09/2018
                                                                                                         ACCOUNT NO:             11900-002H
                                                                                                          Statement No:                46373
 Re: Lease Matters


                                                        RECAPITULATION
TIMEKEEPER                                                            HOURS                            RATE                  TOTAL
Richard E. Weltman                                                      18.50                        $625.00              $11,562.50
Adrienne Woods                                                           8.20                         425.00                3,485.00


                     TOTAL CURRENT SERVICES                                                                                        15,047.50


                     BALANCE DUE                                                                                                  $15,047.50




                     Terms: Payable upon receipt.
                     Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                     Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                                  08/09/2018
        Nutmeg Creative                                                                                            ACCOUNT NO:            11900-003H
        45 West 45th Street                                                                                         Statement No:               46374
        Sixth Floor
        New York NY 10036



        Re: Retentions
                                                                                                                               INTERIM STATEMENT



07/02/2018         REW        Prepare, review and revise letter to client enclosing billing update and confer
                              with Traxi                                                                                      0.20                   n/c
                   REW        Revise attorney declaration and exhibit                                                         0.20

07/04/2018         AW         Draft Traxi retention application                                                               1.10

07/05/2018         AW         Conference with R. Iommazzo regarding retention application and
                              modifications to same                                                                           0.30

07/06/2018         REW        Receive signed/notarized W&M retention affidavit from debtor                                    0.10                   n/c

07/09/2018         REW        Revise retentions and interim compensation motion and order                                     0.60
                   REW        Revise S. Landy and Traxi retention motions                                                     0.40
                   MKJ        Review and revise retention order and application for WM, Landy and Traxi                       0.60
                   MKJ        Coordinate first day retentions of professionals                                                0.20

07/19/2018         REW        Receipt, review and file correspondence from R. Morrissey re: edits to
                              retention orders; update and circulate                                                          0.20
                   REW        Finalize reply to R. Morrissey re: Interim retention order changes                              0.10

07/25/2018         REW        Follow up on retention orders; review UST concerns with AW                                      0.20
                   AW         Review and revise retention applications for Landy, W&M and Traxi                               0.30
                              FOR PROFESSIONAL SERVICES RENDERED                                                              4.20              2,173.00
                              TOTAL NON-BILLABLE HOURS                                                                        0.30

                                                                  RECAPITULATION
       TIMEKEEPER                                                               HOURS                             RATE                TOTAL
       Richard E. Weltman                                                         1.70                          $625.00             $1,062.50
       Michele K. Jaspan                                                          0.80                           485.00                388.00
       Adrienne Woods                                                             1.70                           425.00                722.50


                              TOTAL CURRENT SERVICES                                                                                            2,173.00


                              BALANCE DUE                                                                                                   $2,173.00




                              Terms: Payable upon receipt.
                              Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                              Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                                 08/09/2018
        Nutmeg Creative                                                                                            ACCOUNT NO:           11900-004H
        45 West 45th Street                                                                                         Statement No:              46375
        Sixth Floor
        New York NY 10036



        Re: Fee Applications
                                                                                                                               INTERIM STATEMENT



07/23/2018         MKJ         Returned telephone conference to Amarilas at Marlin Business Bank re:
                               leased equipment and case status review lease; review leases                                   0.10
                   MKJ         Communication with client re: status of equipment leases with MBB and
                               intended next steps                                                                            0.10
                               FOR PROFESSIONAL SERVICES RENDERED                                                             0.20             97.00

                                                                  RECAPITULATION
       TIMEKEEPER                                                               HOURS                            RATE                TOTAL
       Michele K. Jaspan                                                          0.20                         $485.00               $97.00


                               TOTAL CURRENT SERVICES                                                                                          97.00


                               BALANCE DUE                                                                                                    $97.00




                               Terms: Payable upon receipt.
                               Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                               Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                                08/09/2018
        Nutmeg Creative                                                                                           ACCOUNT NO:           11900-005H
        45 West 45th Street                                                                                        Statement No:              46376
        Sixth Floor
        New York NY 10036



        Re: Claims Administration
                                                                                                                              INTERIM STATEMENT



07/17/2018         REW        Telephone conference with claimant Julia Simone of Gimmick LLC re: filing
                              potential POC                                                                                  0.10
                   REW        Finalize response to R. Fleischer re: documents demanded relative to
                              Connecticut district court lawsuit; circulate to L. Peikes of Wiggin and Dana                  0.30

07/23/2018         REW        Return call to Marlin Business Bank re: pre-petition claim on Debtor's
                              leased/financed A/V equipment                                                                  0.10

07/24/2018         REW        Receipt, review and file correspondence- unliquidated claim from NYS DOL
                              for Unemployment Compensation Contributions due; send to client and Traxi                      0.20
                              FOR PROFESSIONAL SERVICES RENDERED                                                             0.70              437.50

                                                                 RECAPITULATION
       TIMEKEEPER                                                              HOURS                            RATE                 TOTAL
       Richard E. Weltman                                                        0.70                         $625.00               $437.50


                              TOTAL CURRENT SERVICES                                                                                           437.50


                              BALANCE DUE                                                                                                     $437.50




                              Terms: Payable upon receipt.
                              Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                              Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                            08/09/2018
        Nutmeg Creative                                                                                         ACCOUNT NO:         11900-006H
        45 West 45th Street                                                                                      Statement No:            46377
        Sixth Floor
        New York NY 10036



        Re: Cash Collateral/DIP Financing
                                                                                                                            INTERIM STATEMENT



07/02/2018         REW        Review/comment on revised cash flow, multiple emails; reply to R.
                              Iommazzo; review and address Z. Ansari's comments                                            0.30
                   REW        Telephone conference with R. Iommazzo, AW re: revised cash flow and
                              marketing income stream, earn out                                                            0.20
                   REW        Review and analyze revised cash flow from Traxi                                              0.20
                   REW        Telephone conference with accountant re: R. Iommazzo re: revised cash
                              flows                                                                                        0.10
                   REW        Telephone conference with R. Iommazzo and follow up email re: continuing
                              Citibank cash collateral use discussions                                                     0.10

07/03/2018         REW        Revise guarantor schedules and secured party schedule                                        0.10
                   REW        Receipt, review and file correspondence from R. Iommazzo and Z. Ansari re:
                              scheduling Citibank's secured status (Schedule D)                                            0.10
                   REW        Consider and implement Citibank's edits to cash collateral stipulation; confirm
                              with G. Hirsch and AW                                                                        0.30
                   REW        Review/confirm Citibank's final exchanges                                                    0.40

07/05/2018         REW        Receipt, review and file correspondence G. Hirsch re: cash flow impact of
                              Connecticut escrow; reply to him                                                             0.20
                   REW        Consider Citibank's cashflow concerns about cash collateral stipulation and
                              disposition of CT escrow if and when it is made available to debtor                          0.30
                   REW        Exchanges with G. Hirsch re: CT escrow and cash flows                                        0.20
                   REW        Address Citibank's cash flow concerns and suggest conference call Friday
                              morning                                                                                      0.10

07/06/2018         REW        Receipt, review and file correspondence- notice of appearance of G. Hirsch
                              for Citibank, NA                                                                             0.10
                   REW        Receipt, review and file correspondence from G. Hirsch re: Citibank's likely
                              assertion of lien against funds held in escrow by attorney R. O'Neill in CT                  0.10
                   REW        Receipt, review and file correspondence from G. Hirsch; exchange re:
                              Wednesday, 7/11 hearings                                                                     0.10

07/09/2018         REW        Revise and update cash collateral stipulation, incorporating Citibank's
                              comments                                                                                     0.40
                   REW        Receipt, review and file correspondence from A. Spaneo (debtor) and R.
                              Iommazzo re: adding availability of funding provision to cash collateral
                              stipulation; update and resend                                                               0.30
                   REW        Exchanges with G. Hirsch, R. Iommazzo and AW re: debtor's best efforts to
                              minimize use of cash collateral and make projected payments to Citibank                      0.20
                   REW        Exchanges with G. Hirsch. R. Iommazzo re: cash collateral motion changes                     0.20

07/11/2018         REW        Telephone conference with G. Hirsch re: cash collateral budget hearing and
                              cash flow questions                                                                          0.20
                   REW        Telephone conference with R. Iommazzo re: cash flow and Paypal                               0.20
                   REW        Finalize email to G. Hirsch re: UST and cash collateral                                      0.40
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        Nutmeg Music Inc.                                                                                                      08/09/2018
                                                                                                            ACCOUNT NO:       11900-006H
                                                                                                             Statement No:          46377
        Re: Cash Collateral/DIP Financing



                   REW       Telephone conference with G. Hirsch re: levels of default (7 for relief from
                             stay); other issues raised by UST Morrissey                                               0.20
                   REW       Telephone conference with G. Hirsch re: bank fees in weeks 1 & 5 and
                             landlord position                                                                         0.20

07/12/2018         REW       Telephone conference with G. Hirsch re: cash collateral terms and cash
                             management (DIP account)                                                                  0.30

07/13/2018         REW       Receipt, review and file correspondence from G. Hirsch and reply re: cash
                             collateral revisions                                                                      0.20
                   REW       Consider proposed changes by Citibank to cash collateral order                            0.40
                   REW       Request to debtor and Traxi re: cash collateral order and budget issue                    0.30
                   AW        Review and provide comments on modified interim cash collateral order with
                             lender's proposed modifications                                                           1.60
                   AW        Conference with REW regarding additional changes to cash collateral order                 0.30
                   AW        Revise cash collateral order and circulate with comments to REW and R.
                             Iommazzo                                                                                  0.20

07/16/2018         REW       Addressing Citibank's requested changes                                                   0.10
                   REW       Receipt, review and file correspondence from G. Hirsch re: cash collateral
                             order and requested coop lien documents; confer with AW and SL                            0.20
                   AW        Conference with REW regarding cash collateral order and terms                             0.10
                   AW        Review and revise cash collateral order, send to G. Hirsch with comments                  0.30
                   AW        Emails with G. Hirsch regarding cash collateral stipulation and revisions to
                             document based on same                                                                    0.30
                   AW        Conferences with G. Hirsh regarding cash collateral order and L/C issue                   0.40
                   AW        Revise cash collateral order and circulate with all comments                              0.30
                   REW       Receipt, review and file correspondence from G. Hirsch re: order comments
                             and DIP account change; confer with AW                                                    0.20
                   REW       Contact G. Hirsch re: cash collateral changes                                             0.10

07/17/2018         REW       Update cash collateral order for G. Hirsch consideration and Citibank
                             approval                                                                                  0.20
                   REW       Telephone conference with R. Iommazzo re: cash collateral                                 0.10
                   REW       Receipt, review and file correspondence from G. Hirsch; reply re: coop loan
                             collateral; confer with S. Landy                                                          0.20
                   REW       Follow up with client and S. Landy re: coop lien sought by Citibank                       0.10
                   REW       Review and analyze revised cash flows from Traxi to G. Hirsch                             0.10
                   REW       Follow up on coop documentation requested by G. Hirsch and Z. Ansari                      0.20

07/18/2018         REW       Email L. Pacchia and R. Iommazzo re; Forest Hills coop consent to security
                             interest                                                                                  0.10
                   REW       Facilitate Debtor's cooperation with coop lien                                            0.10
                   REW       Telephone conference with G. Hirsch re: Citibank's post-petition security
                             interest                                                                                  0.10
                   REW       Finalize confirmation email to G. Hirsch                                                  0.20
                   REW       Receipt, review and file correspondence from G. Hirsch; reply                             0.10
                   REW       Confer with S. Landy; exchange emails on coop security interest sought by
                             secured creditor                                                                          0.20
                   REW       Receipt, review and file correspondence from G. Hirsch re: demand for action
                             by A. Spaneo; forward to S. Landy for immediate response                                  0.20
                   REW       Finalize transmittal to court of final cash collateral order                              0.20
                   REW       Receipt, review and file correspondence from Zeba Ansari re: conference call
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        Nutmeg Music Inc.                                                                                                         08/09/2018
                                                                                                               ACCOUNT NO:       11900-006H
                                                                                                                Statement No:          46377
        Re: Cash Collateral/DIP Financing



                             on coop lien (and equate protection issue)                                                   0.20
                   AW        Confer with REW regarding cash collateral order                                              0.10

07/19/2018         REW       Multiple emails changed with Z. Ansari re: Citibank's adequate protections
                             and conference call                                                                          0.10
                   REW       Receipt, review and file correspondence from S. Landy to coop managing
                             agent; circulate to G. Hirsch and Z. Ansari ahead of conference call                         0.10
                   REW       Advise S. Landy re: call agenda; discuss Citibank arrangements                               0.20
                   REW       Call with G. Hirsch and Z. Ansari to discuss adequate protection via coop
                             lien; also discuss tenant move-out and discussions with
                             and potential impact on bottom line                                                          0.40
                   REW       Forward order redline to court to reflect cash collateral updates                            0.10
                   REW       Telephone conference with S. Landy re: Tony's speaking with coop board
                             directly to facilitate recognition agreement                                                 0.20
                   REW       Finalize response to S. Landy, client, R. Iommazzo re: Citibank's limited
                             support                                                                                      0.20
                   REW       Provide cash collateral redline stipulation to Judge Lane                                    0.10
                   AW        Conference call with REW, S. Landy, Citibank and G. Hirsch regarding cash
                             collateral issues and adequate protection                                                    0.40
                   AW        Review cash collateral order for revisions                                                   0.10

07/20/2018         AW        Conference with R. Iommazzo regarding cash collateral order revisions
                             proposed by court and G. Hirsch                                                              0.10
                   AW        Conference with G. Hirsch regarding proposed revisions to court's changes to
                             cash collateral order                                                                        0.10
                   AW        Conferences with G. Hirsch and N. Sokol regarding court-proposed revisions
                             to cash collateral order                                                                     0.40
                   AW        Emails with M. Carr and Court regarding cash collateral order                                0.20
                   AW        Conference with Court, revise proposed cash collateral order based on
                             comments and circulate to Citibank and Debtor's professionals                                0.70

07/23/2018         REW       Review and analyze Citibank's revised letter to coop management, discuss
                             with S. Landy and client                                                                     0.20
                   REW       Receipt, review and file correspondence from R. Iommazzo re: change in
                             cash flow projections subject to Citibank comment                                            0.20
                   REW       Receipt, review and file correspondence from R. Iommazzo re: revised draft
                             notice to managing agent                                                                     0.20

07/24/2018         REW       Review and analyze final Citibank request to Continental Owners cooperative
                             board                                                                                        0.10
                   REW       Telephone conference with George Hirsch and Zeba Ansari re: cash
                             collateral cash flow changes                                                                 0.40
                   REW       Revise Z.Ansari letter and then review corrected version of Z. Ansari's 7/24
                             letter to Diana Chan at Douglas Elliman Property Management; orchestrate
                             follow up with S. Landy team                                                                 0.20
                   REW       Multiple emails with G. Hirsch, Z. Ansari, R. Iommazzo re: cash collateral
                             call; call with R. Iommazzo                                                                  0.20
                   REW       Address secured creditor's concerns with Traxi                                               0.20
                   REW       Telephone conference with Z. Ansari, G. Hirsch, R. Iommazzo re: marketing
                             Nutmeg's IP,                            ; earnout rather than up front money on
                             table- now speaking to semi-retired investor (NDA being signed); discuss
                                                  cost and personal (no term); look for income stream in
                             new facility and looking at IP alternatives                                                  0.30
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        Nutmeg Music Inc.                                                                                                                 08/09/2018
                                                                                                                 ACCOUNT NO:             11900-006H
                                                                                                                  Statement No:                46377
        Re: Cash Collateral/DIP Financing



                   REW       Telephone conference with R. Iommazzo re: ACH wire confirmation to Citi of
                             $12,500                                                                                        0.10
                   REW       Review and analyze revised cash flow budget                                                    0.30
                   REW       Receipt, review and file correspondence from Z. Ansari with additional
                             comments to                revenue-sharing proposal                                            0.10
                   REW       Confer with Traxi- R. Iommazzo at court re: Citibank's cash collateral order
                             notice to cure and re: revised budget                                                          0.20
                   REW       Attend court hearing before the Honorable Sean Lane, USBJ, on second-day
                             motions (retentions, cash collateral), final cash management, interim
                             compensation, final wage order, co-debtor stay and landlord dispute over rent
                             and possession                                                                                 2.60

07/25/2018         REW       Follow up on final cash collateral order revisions requested by Judge Lane
                             and update and circulate new order draft                                                       0.30
                   REW       Telephone conference with revised final cash collateral order and awaiting
                             Citibank comments                                                                              0.20
                   REW       Receipt, review and file correspondence from G. Hirsch re: his final cash
                             collateral mark-ups; confer with AW to incorporate                                             0.20
                   AW        Review and revise cash collateral order as final order, include budget terms
                             from current model, emails with G. Hirsch and further revisions                                2.20

07/26/2018         REW       Review revised cash collateral exchanges with G. Hirsch, AW                                    0.20
                   REW       Receipt, review and file correspondence from G. Hirsch re: final comments to
                             consent order                                                                                  0.20
                             FOR PROFESSIONAL SERVICES RENDERED                                                            24.90           14,002.50

                                                                RECAPITULATION
       TIMEKEEPER                                                             HOURS                            RATE                  TOTAL
       Richard E. Weltman                                                       17.10                        $625.00              $10,687.50
       Adrienne Woods                                                            7.80                         425.00                3,315.00


                             TOTAL CURRENT SERVICES                                                                                        14,002.50


                             BALANCE DUE                                                                                                  $14,002.50




                             Terms: Payable upon receipt.
                             Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                             Thank you for the opportunity to be of service.
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Nutmeg Music Inc.                                                                                                              08/09/2018
Nutmeg Creative                                                                                           ACCOUNT NO:         11900-008H
45 West 45th Street                                                                                        Statement No:            46378
Sixth Floor
New York NY 10036



Re: Expenses
                                                                                                                      INTERIM STATEMENT




                      Document Reproduction                                                                                        372.25
                      Chapter 11 filing fee                                                                                      1,717.00
                      Postage                                                                                                        0.94
                      Federal Express                                                                                              183.62
                      TOTAL DISBURSEMENTS THRU 07/31/2018                                                                        2,273.81

                      TOTAL CURRENT SERVICES                                                                                     2,273.81


                      BALANCE DUE                                                                                               $2,273.81




                      Terms: Payable upon receipt.
                      Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                      Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                              08/09/2018
        Nutmeg Creative                                                                                           ACCOUNT NO:         11900-010H
        45 West 45th Street                                                                                        Statement No:            46379
        Sixth Floor
        New York NY 10036



        Re: First Day Motions
                                                                                                                              INTERIM STATEMENT



07/02/2018         MLM          Consider section 105 stay for debtor's principal and discuss with AW                         0.20             n/c
                   REW          Telephone conference with R. Iommazzo re: bank deposits, schedules, cash
                                collateral                                                                                   0.20
                   AW           Draft motion to extend stay to principal                                                     2.20
                   AW           Draft email with first day motions to client advising on specific matters that
                                require attention                                                                            0.10

07/03/2018         REW          Manage implementation of updated client financials, revised Rule 1007
                                certification and revised schedules                                                          0.40
                   REW          Follow up with AW on filing, schedules and first-day motions                                 0.10

07/05/2018         REW          Telephone conference with Liza Eubanks from Judge Lane's chambers
                                first-day motions                                                                            0.10
                   REW          Confer with R. Iommazzo of Traxi re: Connecticut escrow disposition,
                                Citibank concerns and top 20 list/ first day motions                                         0.30
                   REW          Revise first-day orders: cash management, Wage & Benefits (with Paychex),
                                Lease rejection, cash collateral, retentions of Professionals (W&M, Landy,
                                Traxi), anf co-debtor stay                                                                   0.40
                   REW          Telephone conference with AW to coordinate changes in first-day motions
                                with Jude Lane's chambers (Liza Eubanks)                                                     0.20
                   REW          Coordinate service addresses for first-day motions; review Traxi email and
                                update schedules                                                                             0.20
                   REW          Additional revisions of first day motions                                                    0.30
                   AW           Finalize motion to extend stay to principal                                                  0.40
                   REW          Telephone conference with client re: message to stakeholders                                 0.10

07/06/2018         REW          Update first-day filings; confer with AW and R. Iommazzo                                     0.40
                   REW          Confirm first-day hearings for 3pm on 7/11/18 before Judge Lane; advise G.
                                Hirsch and client                                                                            0.20
                   REW          Revise cash management motion, cash collateral stipulation, employee wage
                                and benefit motion                                                                           0.90
                   AW           Complete draft cash collateral motion                                                        3.60
                   AW           Conference with G. Hirsch regarding motions and first day hearing                            0.20
                   AW           Conference with R. Iommazzo regarding first day motions                                      0.30
                   AW           Conference with REW regarding first day motions                                              0.20
                   REW          Investigate GCG service of first-day motions                                                 0.20

07/07/2018         AW           Complete drafts of remaining first day motions, including lease rejection, cash
                                management, interim compensation and wages and benefits; revisions to
                                prior motions                                                                                8.80

07/09/2018         REW          Revise co-debtor stay motion and order                                                       0.30
                   REW          Exchanges with debtor and R. Iommazzo re: first day notices; revise and
                                update Certificate of Service                                                                0.30
                   REW          Finalize first-day motions for filing; obtain final client and Traxi approval                0.50
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        Nutmeg Music Inc.                                                                                                              08/09/2018
                                                                                                                    ACCOUNT NO:       11900-010H
                                                                                                                     Statement No:          46379
        Re: First Day Motions



                   REW          Finalize transmittal letter to UST Richard Morrissey, Esq. re: first-day motions               0.10
                   REW          Finalize transmittal letter to Judge Lane with multiple first-day motions;
                                supervise expedited service process by fax, email and overnight mail                           0.30
                   REW          Consider UST's position on co-debtor stay motion and independent attorney
                                with S. Landy                                                                                  0.20
                   REW          Update letter and packages to Judge Lane and R. Morrissey at UST                               0.20
                   AW           Finalize first day motions for filing, coordinating final comments and changes
                                with JG, G. Hirsch, R. Iommazzo and REW                                                        6.40
                   AW           Conference with REW, draft email to R. Morrissey regarding first day motions                   0.30

07/10/2018         REW          Finalize emails to debtor, S. Landy, R. Iommazzo re: first-day hearings                        0.30
                   AW           Email to R. Morrissey responding to request to adjourn certain first day
                                motions                                                                                        0.20
                   AW           Conference with REW regarding first day hearings                                               0.30

07/11/2018         REW          Receipt, review and file correspondence- revised cash flow with explanation
                                from Traxi re: first-day motions                                                               0.20
                   REW          Prepare for hearing on first days; calls with G. Hirsch, B. Theis                              0.60
                   REW          Attend court hearing before the Honorable Sean Lane, USBJ, on first day
                                motions; confer with A. Spaneo and R. Iommazzo at court; travel deal with
                                cash collateral, cash management, lease rejection and co-debtor stay, and
                                wages                                                                                          4.10
                   REW          Filed certifications of service                                                                0.10           n/c
                   REW          Telephone conference with R. Iommazzo re: wage motion                                          0.10

07/17/2018         AW           Confer with REW regarding cash collateral, wage and landlord consent
                                orders                                                                                         0.10

07/18/2018         REW          Finalize submission of wage order to Judge Lane for consideration and
                                signature                                                                                      0.10
                   REW          Prepare transmittal to court filing cash collateral order with exhibit (cash flow
                                budget)                                                                                        0.20
                   AW           Confer with REW regarding wage order                                                           0.10

07/19/2018         AW           Emails and discussions with REW and R. Iommazzo regarding cash
                                management status, DIP accounts, and update G. Hirsch on same                                  0.40

07/23/2018         MLM          Strategy conference with REW re: first-day lease rejection motion issues and
                                landlord opposition to same                                                                    0.20           n/c

07/25/2018         AW           Conference with REW regarding submission of various orders and case
                                status                                                                                         0.40
                   AW           Draft final order for employee wages, circulate to team                                        0.30
                   AW           Revise cash management order, confer with REW, circulate to team                               0.30
                   AW           Review interim compensation order and circulate                                                0.20

07/26/2018         REW          Finalize final transmittal of remaining final orders to B. Masumoto at OUST                    0.20

07/27/2018         REW          Finalize orders for submission to court inclusive of UST comments and
                                approval of G. Hirsch                                                                          0.30
                   REW          Telephone conference with G. Hirsch re: OK to release/file orders; confirm
                                versions with AW                                                                               0.10
                   AW           Review, revise and submit orders granting use of cash collateral, approving
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 Nutmeg Music Inc.                                                                                                                   08/09/2018
                                                                                                             ACCOUNT NO:            11900-010H
                                                                                                              Statement No:               46379
 Re: First Day Motions



                         payment of employees and retention of Traxi, W&M and Landy, and
                         establishing cash management and interim compensation procedures                               1.10
                         FOR PROFESSIONAL SERVICES RENDERED                                                            38.00          18,570.00
                         TOTAL NON-BILLABLE HOURS                                                                       0.50

                                                            RECAPITULATION
TIMEKEEPER                                                                HOURS                            RATE                 TOTAL
Richard E. Weltman                                                          12.10                        $625.00              $7,562.50
Adrienne Woods                                                              25.90                         425.00              11,007.50


                         TOTAL CURRENT SERVICES                                                                                       18,570.00


                         BALANCE DUE                                                                                                 $18,570.00




                         Terms: Payable upon receipt.
                         Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                         Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                                 08/09/2018
        Nutmeg Creative                                                                                           ACCOUNT NO:            11900-011H
        45 West 45th Street                                                                                        Statement No:               46380
        Sixth Floor
        New York NY 10036



        Re: United States Trustee
                                                                                                                              INTERIM STATEMENT



07/03/2018         REW        Negotiate changes in cash flow for carve out for UST fees                                      0.20

07/09/2018         REW        Review papers received from court notice of section 341 meeting; notify
                              Traxi, client                                                                                  0.20

07/11/2018         REW        Telephone conference with R. Morrissey                                                         0.20
                   REW        Receipt, review and file correspondence from R. Morrissey re: UST fees                         0.20
                   REW        Telephone conference with R. Morrissey re: tax liabilities and trust fund- New
                              York State as a creditor                                                                       0.70

07/12/2018         REW        Finalize request to Traxi re: DIP accounts; copy G. Hirsch                                     0.20
                   REW        Receipt, review and file correspondence from R. Morrissey re: cash on hand
                              and schedules; reply                                                                           0.20
                   REW        Finalize follow up email to R. Iommazzo and K. Ng re: debtor's cash and A/R                    0.10
                   REW        Receipt, review and file correspondence from UST and re: DIP accounts                          0.20
                   REW        Request to R. Morrissey at UST re: consent to change DIP accounts in cash
                              management order                                                                               0.20

07/13/2018         REW        Receipt, review and file correspondence from R. Iommazzo re: DIP banking
                              and cash management                                                                            0.20
                   REW        Request to debtor and Traxi re: DIP account set up                                             0.10

07/16/2018         REW        Receipt, review and file correspondence from R. Iommazzo re: DIP account
                              at Citibank; send link with approved banks                                                     0.20
                   REW        Finalize DIP account at Wells Fargo, TD Bank, Flushing Bank or other- send
                              to G. Hirsch and R. Morrissey                                                                  0.10

07/19/2018         REW        Receipt, review and file correspondence from R. Morrissey re: DIP accounts                     0.10

07/27/2018         REW        Consider and respond to multiple emails exchanged between USTB
                              Masumoto and G. Hirsch re: interest on unpaid UST fees                                         0.20
                              FOR PROFESSIONAL SERVICES RENDERED                                                             3.30              2,062.50

                                                                RECAPITULATION
       TIMEKEEPER                                                             HOURS                              RATE                TOTAL
       Richard E. Weltman                                                       3.30                           $625.00             $2,062.50


                              TOTAL CURRENT SERVICES                                                                                           2,062.50


                              BALANCE DUE                                                                                                  $2,062.50
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Nutmeg Music Inc.                                                                                                          08/09/2018
                                                                                                         ACCOUNT NO:      11900-011H
                                                                                                          Statement No:         46380
Re: United States Trustee




                     Terms: Payable upon receipt.
                     Note: Guideline billing rates do not reflect applied professional courtesy discounts.

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        Nutmeg Music Inc.                                                                                                           08/09/2018
        Nutmeg Creative                                                                                        ACCOUNT NO:         11900-012H
        45 West 45th Street                                                                                     Statement No:            46381
        Sixth Floor
        New York NY 10036



        Re: GW Hoffman Litigation
                                                                                                                           INTERIM STATEMENT



07/05/2018         REW        Telephone conference with client re: address client's concerns regarding
                              transfers to GW Hoffman                                                                     0.10

07/09/2018         REW        Telephone conference with Larry Peikes at Wiggin and Dana re: GW
                              Hoffman escrow                                                                              0.20
                   REW        Telephone conference with Larry Peikes re: motion to dismiss and effect of
                              automatic stay                                                                              0.20
                   REW        Exchanges with L. Peikes and G. Hirsch re: disposition of Connecticut District
                              Court litigation                                                                            0.30

07/11/2018         REW        Receipt, review and file correspondence L. Peikes re: open Connecticut
                              discovery; reply                                                                            0.20
                   REW        Email to R. O'Neill; exchanges                                                              0.20

07/16/2018         REW        Telephone conference with client re: A. Spaneo re: GW Hoffman, A/R and
                              escrow account with plaintiff's attorney                                                    0.20
                   REW        Receipt, review and file correspondence R. Fleischer re: document request
                              on behalf of Karen Gayette Hoffman                                                          0.20
                   REW        Prepare, review and revise letter to client enclosing Hoffman document
                              request                                                                                     0.10

07/17/2018         REW        Confer with MKJ re: response to content informal discovery request from R.
                              Fleischer for Hoffman                                                                       0.10
                   REW        Consider and prepare turnover demand for escrow account (debtor's funds)
                              held by Ryan O'Neill/ Mark Sherman                                                          0.20
                   REW        Finalize turnover demand to R. Fleischer                                                    0.10
                   REW        Finalize discovery response to R. Fleischer                                                 0.10

07/18/2018         REW        Receipt, review and file correspondence Identity notice address for KG
                              Hoffman                                                                                     0.10

07/23/2018         REW        Receipt, review and file correspondence from R. O'Neill re: trust fund
                              opposition                                                                                  0.20
                   REW        Prepare, review and revise letter to client enclosing response from CT
                              counsel and seek internal comments from client, L. Peikes                                   0.20
                   REW        Telephone conference with R. Iommazzo re: Connecticut action and
                              threatened motion to lift stay and oppose escrow turnover by plaintiff's
                              attorney                                                                                    0.10

07/24/2018         REW        Confer with Hoffman attorney O'Neill re: co-debtor stay consent order terms                 0.20

07/25/2018         REW        Telephone conference with L. Peikes re: Hoffman litigation and motion to
                              dismiss; CT law on pre-judgment remedy                                                      0.40
                   REW        Telephone conference with L. Peikes re: turnover request                                    0.10
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        Nutmeg Music Inc.                                                                                                               08/09/2018
                                                                                                                ACCOUNT NO:            11900-012H
                                                                                                                 Statement No:               46381
        Re: GW Hoffman Litigation



07/26/2018         REW      Telephone conference with L. Peikes and MKJ re: turnover and stay
                            modification                                                                                   0.50
                   REW      Telephone conference with R. Iommazzo re: Citibank's interest in turnover
                            motion (Hoffman)                                                                               0.20

07/27/2018         REW      Develop turnover motion strategy                                                               0.40
                   AW       Conference with REW regarding turnover action against counsel to Hoffman
                            in CT and merits of allowing CT action to proceed                                              0.40
                            FOR PROFESSIONAL SERVICES RENDERED                                                             5.00              3,045.00

                                                               RECAPITULATION
       TIMEKEEPER                                                            HOURS                            RATE                 TOTAL
       Richard E. Weltman                                                      4.60                         $625.00              $2,875.00
       Adrienne Woods                                                          0.40                          425.00                 170.00


                            TOTAL CURRENT SERVICES                                                                                           3,045.00


                            BALANCE DUE                                                                                                  $3,045.00




                            Terms: Payable upon receipt.
                            Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                            Thank you for the opportunity to be of service.
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        Nutmeg Music Inc.                                                                                                                08/09/2018
        Nutmeg Creative                                                                                           ACCOUNT NO:           11900-015H
        45 West 45th Street                                                                                        Statement No:              46382
        Sixth Floor
        New York NY 10036



        Re: Marketing & Sale of Business
                                                                                                                              INTERIM STATEMENT



07/17/2018         REW        Telephone conference with R. Iommazzo re: marketing efforts and potential
                              asset sale                                                                                     0.10

07/19/2018         REW        Telephone conference with R. Iommazzo re: marketing
                              with rent pegged at 50% of revenues (short term agreement for
                              rent/commission) and Citibank's consideration of terms                                         0.20
                   REW        Telephone conference with R. Iommazzo re: efforts to market and sell
                              Nutmeg's good will and ongoing projects/customer list; discussions with
                                                                                                                             0.30

07/24/2018         REW        Consider marketing efforts and               as possible operational partner                   0.30
                              FOR PROFESSIONAL SERVICES RENDERED                                                             0.90              562.50

                                                                 RECAPITULATION
       TIMEKEEPER                                                              HOURS                            RATE                 TOTAL
       Richard E. Weltman                                                        0.90                         $625.00               $562.50


                              TOTAL CURRENT SERVICES                                                                                           562.50


                              BALANCE DUE                                                                                                     $562.50




                              Terms: Payable upon receipt.
                              Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                              Thank you for the opportunity to be of service.
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Nutmeg Music Inc.                                                                                                             08/09/2018
Nutmeg Creative                                                                                           ACCOUNT NO:            11900H
45 West 45th Street
Sixth Floor
New York NY 10036




    Previous Balance                     Fees              Expenses              Advances                 Payments              Balance

Re: Chapter 11 General
                0.00                12,623.00                   0.00                   0.00                    0.00           $12,623.00

Re: Lease Matters
                0.00                15,047.50                   0.00                   0.00                    0.00           $15,047.50

Re: Retentions
                 0.00                2,173.00                   0.00                   0.00                    0.00            $2,173.00

Re: Fee Applications
                 0.00                   97.00                   0.00                   0.00                    0.00              $97.00

Re: Claims Administration
               0.00                    437.50                   0.00                   0.00                    0.00             $437.50

Re: Cash Collateral/DIP Financing
                 0.00             14,002.50                     0.00                   0.00                    0.00           $14,002.50

Re: Expenses
                 0.00                     0.00              2,273.81                   0.00                    0.00            $2,273.81

Re: First Day Motions
                 0.00               18,570.00                   0.00                   0.00                    0.00           $18,570.00

Re: United States Trustee
                 0.00                2,062.50                   0.00                   0.00                    0.00            $2,062.50

Re: GW Hoffman Litigation
              0.00                   3,045.00                   0.00                   0.00                    0.00            $3,045.00

Re: Marketing & Sale of Business
                0.00                   562.50                   0.00                   0.00                    0.00             $562.50

                 0.00               68,620.50               2,273.81                   0.00                    0.00           $70,894.31




                      Terms: Payable upon receipt.
                      Note: Guideline billing rates do not reflect applied professional courtesy discounts.

                      Thank you for the opportunity to be of service.
